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         13        Jack Chin
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         15
         16                             UNITED STATES DISTRICT COURT
         17                            CENTRAL DISTRICT OF CALIFORNIA

         18
                                                  )
         19        UNITED STATES OF AMERICA, )            Case No. 09-CV-1293 PSG (PJWx)
                                                  )
                   et al. ex rel. Jack Chin,      )
         20                                       )       QUI TAM PLAINTIFF JACK
         21                       Plaintiffs,     )
                                                  )       CHIN’S RESPONSE TO ORDER
                           vs.                    )       TO SHOW CAUSE WHY
         22                                       )
                                                  )       DEFENDANT SHOULD NOT BE
         23        Walgreen Company, et al.,      )       DISMISSED UNDER FEDERAL
                                                  )       RULE OF CIVIL PROCEDURE
         24                       Defendants.     )
                                                  )       4(m)
         25                                       )
                   ______________________________ )
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         27
         28


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           1             In response to the Order to Show Cause Why Defendant Should Not Be
           2
                   Dismissed Under Federal Rule of Civil Procedure 4(m) (Document 82), Qui Tam
           3
           4       Plaintiff Jack Chin responds as follows:

           5             This is an action brought pursuant to the qui tam provisions of the False Claims
           6
                   Act against defendants Walgreen Company, Rite Aid and CVS Caremark Corp. As
           7
           8       required by 31 U.S.C. § 3730(b), the original Complaint and a First Amended

           9       Complaint were filed under seal and remained under seal until the Amended
         10
                   Complaint was unsealed on or about October 5, 2016, along with a small portion of
         11
         12        the previously sealed ECF docket.

         13              During the seal period, the US Department of Justice and the relator reached
         14
                   settlement agreements with defendants Walgreen Company and Rite-Aid. As a result
         15
         16        of these settlements, both of these defendants have been dismissed from the action.

         17        Unable to reach a resolution with defendant CVS, however, the Government notified
         18
                   the Court on March 21, 2016 (Document 75) that it was declining intervention in the
         19
         20        action, referring the Court to 31 U.S.C. § 3730(b)(1) which “allows the relator to
         21        maintain the action in the name of the United States.” The Court then signed the
         22
                   Government’s proposed order on March 22, 2016 (Document 76) directing that the
         23
         24        “Amended Complaint be unsealed and served upon defendant CVS.” However, the
         25        relator’s counsel were not served a copy of the unsealing and service Order which
         26
                   remained sealed for several more months.
         27
         28              Following the government’s declination, relator’s counsel contacted DOJ


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           1       counsel on several occasions to ascertain the status of the case, since both the entire
           2
                   docket, the amended complaint and any unsealing order remained sealed. On June 8,
           3
           4       2016, relator’s counsel contacted the Court’s in-court deputy clerk indicating that the

           5       relator had no record of being served with an unsealing order and the case had not yet
           6
                   been placed on the public docket. The clerk responded by directing relator’s counsel
           7
           8       back to the government, indicating that it could not provide copies of sealed

           9       documents submitted by other filers. Government counsel then advised that they
         10
                   would follow up on this matter and check with the clerk’s office. Relator’s counsel
         11
         12        then continued to periodically check with DOJ counsel on the unsealing status of this

         13        matter. Regular attempts to access the ECF docket for the case showed that it
         14
                   remained sealed.
         15
         16              On October 5, 2016, for the first time, government counsel provided relators a

         17        copy of the unsealing order. Thereafter, on October 5, 2016, Relator’s counsel was,
         18
                   for the first time, able to access the ECF docket for this matter on Pacer, which
         19
         20        included the ability to access the newly unsealed Amended Complaint.
         21              Cases that have examined the Rule 4(m) time requirement for serving a qui tam
         22
                   complaint under the False Claims Act have concluded that the clock starts to run once
         23
         24        the complaint has been unsealed. See U.S. ex rel. Budicke v. PECO Energy, 897
         25        F.Supp.2d 300, 313-314 (E.D. Pa. 2012) (“In an action brought pursuant to the FCA,
         26
                   the 120-day time-period for service mandated by Rule 4(m) begins with the unsealing
         27
         28


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           1       of the complaint.” (additional citations omitted))1. At a minimum, good cause
           2
                   supports extending the period of service under Rule 4(m) to begin to run on the date
           3
           4       on which the complaint is unsealed. See U.S. ex rel. Woods v. Southerncare, Inc.,

           5       2013 WL 1339375 (S.D. Miss.).
           6
                         The statutory seal blocked the ability to serve the Amended Complaint until the
           7
           8       seal was lifted on or about October 5, 2016. Good cause, therefore, supports tolling

           9       the period under Rule 4(m) to serve the qui tam complaint while it remained under
         10
                   seal. Thus, the 90 period under the current version of Rule 4(m) to serve the Amended
         11
         12        Complaint should be measured from October 5, 2016 and Relator is entitled to serve

         13        his Amended Complaint on Defendant on or before January 24, 2017.
         14
         15
         16                                                     Respectfully submitted,

         17                                                     Warren ■ Benson Law Group
         18
                   Dated: 10/28/2016                            /s/ Phillip E. Benson
         19                                                     Phillip E. Benson
         20                                                     Attorney for Qui Tam Plaintiff
                                                                Jack Chin
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                   1
                    Counsel notes that subsequent to the holding in Budicke, supra, the time limit for
         27        serving a Complaint has been decreased from 120 days to 90 days. Fed. R. Civ. P. 4
                   (m).
         28


{H0393353.1}                                                4
